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                                   IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                           Plaintiff,                                                 8:16CR307

        vs.
                                                                                        ORDER
EVERLYN DELGADO,

                           Defendant.


         This matter is before the court on Defendant's Unopposed Motion to Continue Pretrial Motion Deadline.
(Filing No. 43.) Defendant seeks an additional week in which to file pretrial motions in accordance with the
progression order. Defendant has filed an affidavit wherein she consents to the motion and acknowledges that she
understands the additional time may be excludable time for the purposes of the Speedy Trial Act. (Filing No. 43 at
CM/ECF p. 3.) Defendant’s counsel represents that the government does not object to the motion. For good cause
shown, I find that the motion should be granted. Pretrial motions shall be filed by January 13, 2017.


         IT IS ORDERED:


         1.       Defendant's Unopposed Motion to Continue Pretrial Motion Deadline (Filing No. 43) is granted.
Pretrial motions shall be filed on or before January 13, 2017.


         2.       The ends of justice have been served by granting such motion and outweigh the interests of the
public and Defendant in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between January 6, 2017 and January 13, 2017, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason Defendant's counsel requires additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of
this case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) &
(B).


         Dated this 9th day of January, 2017.


                                                                 BY THE COURT:



                                                                 s/ Susan M. Bazis
                                                                 United States Magistrate Judge
